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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

GENARO ESPARZA AND                         §
SAN JUANITA ESPARZA                        §
                                           §
       Plaintiffs,                         §
                                           §      CIVIL ACTION NO. 5:15-CV-00109
v.                                         §
                                           §
STATE FARM LLOYDS AND                      §
JAY OSPINA,                                §

       Defendant.

                                NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

       The Plaintiffs herein would advise the Court that the parties have reached a settlement,

and therefore, request that all deadlines be suspended pending documentation of settlement.

                                            Respectfully submitted,

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                                            By:     /s/ Martin J. Phipps
                                                    MARTIN J. PHIPPS
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                                                    BLAYNE FISHER
                                                    State Bar No. 24090099

                                            ATTORNEYS FOR PLAINTIFFS
       Case 5:15-cv-00109 Document 3 Filed in TXSD on 07/20/15 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and correct copy of the foregoing Notice of
Settlement has been sent via electronic messaging, to the Attorney for Defendant, as follows:

VIA ELECTRONIC MESSAGING: dkw@atlashall.com
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                                            /s/ Martin J. Phipps
                                            MARTIN J. PHIPPS
	  




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